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IN THE UNITED STATES DISTRICT COURT E \cT COURT
NITED STATE BSN EXICO
FOR THE DISTRICT OF NEW MEXIGQBUQUEROUE:
1 2019
UNITED STATES OF AMERICA, MAY 2
RS
Plaintiff, MITCHELL R. ELFE
CLERK
vs. CR. NO. 18-4176 JB

STERLING ISLANDS, et al.,
Defendant.
ORDER GRANTING THE UNITED STATES’ MOTION FOR TWO-WEEK TIME
EXTENSION TO FILE RESPONSE TO DEFENDANTS’ JOINT MOTION
TO DISMISS COUNT I OF THE INDICTMENT (Doc. 50)
THIS MATTER having come before the Court on the United States’ Motion to Extend the
Time Within Which to Respond to Defendants’ Motion to Dismiss Count I of the Indictment (Doc.
50), and having considered the reasons set forth in that motion, FINDS that the motion is well

taken and should be granted.

IT IS THEREFORE ORDERED that the United States’ response is due on May 24, 2019.

 

Submitted by:

Kristopher N. Houghton
Sean J. Sullivan
Assistant United States Attorneys
